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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE

  ELAINE LEVINS AND WILLIAM
  LEVINS,

                        Plaintiffs,     Civil No. 17-928-RBK-KMW

              v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC, et al.,

                        Defendant.


                             SCHEDULING ORDER

          This Scheduling Order confirms the directives given to
counsel during the telephone status conference held on November 9,
2020; and the Court noting the following appearances: Philip D.
Stern, Esquire, appearing on behalf of the plaintiffs; and
Christian M. Scheuerman, Esquire, appearing on behalf of the
defendant; and for good cause shown:

            IT IS this 9th day of November, 2020, hereby ORDERED:

          1. Pretrial factual discovery will expire on February
26, 2021. All pretrial discovery shall be concluded by that date.
All discovery motions and applications pursuant to L. CIV. R.
37.1(a)(1) shall be made returnable before the expiration of
pretrial factual discovery.

          2. Discovery Applications. All discovery applications
pursuant to L. Civ. R. 37.1(a)(1) shall include an Affidavit or
Certification that includes the information identified in L. Civ.
R. 37.1(b)(1).   Absent exigent circumstances, the Court expects
parties to "meet and confer" in person or via telephone before
making a discovery application, rather than just exchanging
letters or e-mails.

           3. Dispositive    Motions   and  Motions   for   Class
Certification.   Dispositive   motions  and  motions   for  class
certification shall be filed with the Clerk of the Court no later
than April 9, 2021. Opposition to the motion should be served in
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a timely fashion. Counsel are to follow L. CIV. R. 7.1, 7.2, 56.1
and 78.1 (Motion Practice - Generally).

          4. The Court will conduct a telephone status conference
on February 17, 2021 at 11:00 a.m. All counsel shall dial into
the Court’s conference line at 1-888-684-8852, Access Code
1488577# to connect to the call.

           5. Any application for an extension of time beyond the
deadlines set herein shall be made in writing to the undersigned
and served upon all counsel prior to expiration of the period
sought to be extended, and shall disclose in the application all
such   extensions   previously   obtained,  the   precise   reasons
necessitating the application showing good cause under FED. R. CIV.
P. 16(b), and whether adversary counsel agree with the application.
The schedule set herein will not be extended unless good cause is
shown.

          THE FAILURE OF A PARTY OR ATTORNEY TO OBEY THIS ORDER
MAY RESULT IN IMPOSITION OF SANCTIONS UNDER FED. R. CIV. P.
16(f).



                                      s/ Karen M. Williams
                                      KAREN M. WILLIAMS
                                      United States Magistrate Judge

cc:   Hon. Robert B. Kugler
